                                   Case 19-23972-AJC                  Doc 1        Filed 10/17/19           Page 1 of 9

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                FOXHOLE BAR, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1218 14th Court
                                  Miami Beach, FL 33139
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-23972-AJC                 Doc 1         Filed 10/17/19              Page 2 of 9
Debtor    FOXHOLE BAR, LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case 19-23972-AJC                   Doc 1        Filed 10/17/19             Page 3 of 9
Debtor   FOXHOLE BAR, LLC                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    FOXHOLE BAR, LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 17, 2019
                                                  MM / DD / YYYY


                             X   /s/ Angel Fabres                                                         Angel Fabres
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Thomas L. Abrams                                                      Date October 17, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas L. Abrams 74329
                                 Printed name

                                 Gamberg & Abrams
                                 Firm name

                                 1776 North Pine Island Road
                                 Suite 215
                                 Fort Lauderdale, FL 33322
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (954) 523-0900                Email address      tabrams@tabramslaw.com

                                 74329 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:
 Debtor name FOXHOLE BAR, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 5151 Entertainment                                                                                                                                                         $8,687.14
 7800 Collins
 Avenue, Suite 406
 Miami Beach, FL
 33141
 ASCAP                                                                                                                                                                      $1,061.34
 P.O. BOX
 331608-7515
 Nashville, TN 37200
 CINTAS                                                                                                                                                                       $619.47
 1111 N.W. 209th
 Avenue
 Hollywood, FL
 33029
 City of Miami Beach                                                                                                                                                       Unknown
 1700 Convention
 Center Drive
 Miami Beach, FL
 33139
 City of Miami Beach                                                                                                                                                       Unknown
 Taxing Authority
 1700 Convention
 Center Drive
 Miami Beach, FL
 33139
 Coca Cola                                                                                                                                                                    $822.92
 Beverages Florida
 P.O. BOX 740909
 Atlanta, GA
 30374-0909
 Culture Club Society                                                                                                                                                       $3,386.79
 LLC
 698 NE 1 Ave
 Miami, FL 33132




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    FOXHOLE BAR, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 HOMECOOKIN                                                                                                                                                                 $8,497.14
 HOSPITALITY
 GROUP
 5151 COLLINS
 AVENUE
 SUITE 321
 Miami Beach, FL
 33140
 Internal Revenue                                                941 taxes                                                                                                  $6,369.00
 Service
 Centralzed
 Insolvency
 Operations
 P.O. Box 2116
 Philadelphia, PA
 19101
 MLE LAW                                                                                                                                                                    $5,000.00
 633 S. ANDREWS
 AVENUE # 500
 Fort Lauderdale, FL
 33301
 ROCKWELL                                                                                                                                                                     $400.00
 TALENT LLC
 2050 CORAL WAY
 #520
 Miami, FL 33145
 SMGQ LAW                                                                                                                                                                   $1,000.00
 201 ALHAMBRA
 CIRCLE
 Miami, FL 33134
 Washington Charles                                                                                                                                                         $5,110.35
 203 NE 65 Street
 Miami, FL 33138




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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           5151 Entertainment
           7800 Collins Avenue, Suite 406
           Miami Beach, FL 33141


           Aglysis
           1858 Paysphere Circle
           Chicago, IL


           ASCAP
           P.O. BOX 331608-7515
           Nashville, TN 37200


           CINTAS
           1111 N.W. 209th Avenue
           Hollywood, FL 33029


           City of Miami Beach
           1700 Convention Center Drive
           Miami Beach, FL 33139


           City of Miami Beach Taxing Authority
           1700 Convention Center Drive
           Miami Beach, FL 33139


           Coca Cola Beverages Florida
           P.O. BOX 740909
           Atlanta, GA 30374-0909


           Culture Club Society LLC
           698 NE 1 Ave
           Miami, FL 33132


           Direct TV
           P.O. BOX 31621
           Tampa, FL 33631


           ECOLAB
           P.O. BOX 32027
           New York, NY 10087-2027


           ECOLAB
           P.O. BOX 32027
           New York, NY 10087-2027
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       Florida Department of Revenue
       Bankruptcy Section
       PO Box 6668
       Tallahassee, FL 32314-6668


       Florida Department of Revenue
       5050 West Tennessee Street
       Tallahassee, FL 32399


       Florida Workers Comp JUA Inc.
       P.O. BOX 5600
       Hartford, CT 06102


       Florida Workers Comp JUA Inc.
       P.O. BOX 5600
       Hartford, CT 06102


       GCD DEVELOPMENT
       2520 JARDIN DRIVE
       Fort Lauderdale, FL 33327


       GCD Development LLC (landlord real prop)
       2520 Jardin Drive
       Fort Lauderdale, FL 33327


       HOMECOOKIN HOSPITALITY GROUP
       5151 COLLINS AVENUE
       SUITE 321
       Miami Beach, FL 33140


       Internal Revenue Service
       Centralzed Insolvency Operations
       P.O. Box 2116
       Philadelphia, PA 19101


       IPFS CORPORATION
       900 ASHWOOD PARKWAY, SUITE 370
       Atlanta, GA 30338


       IPFS CORPORATION
       900 ASHWOOD PARKWAY, SUITE 370
       Atlanta, GA 30338
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       Jorge Gesen Galloso
       c/o Sina Negahbani, Esquire
       PO Box 566055
       Miami, FL 33256


       Louis J. Terminello, Trustee
       600 BRICKELL AVE #3600
       Miami, FL 33131


       MLE LAW
       633 S. ANDREWS AVENUE # 500
       Fort Lauderdale, FL 33301


       ROCKWELL TALENT LLC
       2050 CORAL WAY #520
       Miami, FL 33145


       SMGQ LAW
       201 ALHAMBRA CIRCLE
       Miami, FL 33134


       TRAVELERS INSURANCE
       1200 S PINE ISLAND ROAD #600
       Fort Lauderdale, FL 33324


       TRAVELERS INSURANCE
       1200 S PINE ISLAND ROAD #600
       Fort Lauderdale, FL 33324


       Washington Charles
       203 NE 65 Street
       Miami, FL 33138
